       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
UNITED STATES OF AMERICA,              )
                                       )
      Plaintiff,                       )     Civil Action No. 99-CV-2496 (PLF)
                                       )     Next scheduled court appearance:
      and                              )             NONE
                                       )
TOBACCO-FREE KIDS                      )
ACTION FUND, et al.                    )
                                       )
      Plaintiff-Intervenors            )
                                       )
      v.                               )
                                       )
PHILIP MORRIS USA INC., et al.,        )
                                       )
      Defendants,                      )
                                       )
      and                              )
                                       )
ITG BRANDS, LLC, et al.,               )
                                       )
      Post-Judgment Parties Regarding  )
      Remedies.                        )
____________________________________)

 PLAINTIFFS’ MOTION FOR CLARIFICATION REGARDING THE APPLICATION
       OF ORDER #1015, AS AMENDED, TO HEATSTICKS CIGARETTES

       Defendant Philip Morris USA (“PM USA”) recently began test-marketing under the

trademark “HeatSticks” several varieties of heated-tobacco cigarettes that are smoked using the

IQOS Tobacco Heating System (“IQOS system”). To sidestep the application of the wide-

ranging anti-fraud and other provisions of this Court’s final injunction and remedial order, Order

#1015, to HeatSticks cigarettes, PM USA has taken the position that they are not “cigarettes”

within the meaning of Order #1015, because they do not use conventional combustible cigarette

technologies; because PM USA contends they are less hazardous than conventional combustible

cigarettes; and because FDA has authorized them to be marketed and is considering a further



                                                1
        Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 2 of 17




application that would allow them to be marketed with “modified risk” claims. Plaintiffs ask the

Court to clarify that HeatSticks cigarettes are “cigarettes” under Order #1015. 1

       To prevent and restrain defendants from continued fraud and deception with respect to

“cigarettes,” Order #1015 permanently enjoins defendants from engaging in fraud and

racketeering, prohibits them from making health claims, obligates them to disclose documents

and data, and requires them to make corrective statements—all in relation to “cigarettes.”

Although Order #1015 does not define the term “cigarette,” the breadth of its meaning, and that

it includes HeatSticks cigarettes, is clear from the way the parties and the Court used the term.

Of particular relevance here, the Findings of Fact that accompanied Order #1015 discussed at

great length PM USA’s and other defendants’ efforts to develop “less hazardous cigarettes.”

United States v. Philip Morris USA Inc., 449 F. Supp. 1, 384-430 (D.D.C. 2006), aff’d in part &

rev’d in part, 566 F.3d 1095 (D.C. Cir. 2009). The Court characterized every one of the roughly

dozen or so unconventional products as “cigarettes.” Like HeatSticks cigarettes, some of those

purportedly less hazardous unconventional cigarettes heated rather than burned tobacco. Those

heated-tobacco cigarettes included a PM USA product called the “Accord” system, a product

substantially similar to PM USA’s current IQOS system and HeatSticks cigarettes. Despite

directly addressing in detail these “less hazardous cigarettes,” nothing in Order #1015 confines

its scope to “traditional,” “conventional,” or “combusted” cigarettes, or exempts any kind of

potentially or actually “less hazardous cigarette”—regardless of who asserts the cigarette is less

hazardous or on what basis.




       1
         Counsel for plaintiffs met and conferred with counsel for PM USA in a good-faith
attempt to resolve this dispute, but were unable to do so.


                                                 2
        Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 3 of 17




       Nor is the scope of Order #1015 altered or otherwise demarcated by the subsequent

independent findings or actions of the FDA or any other government agency. Neither the fact

that FDA authorized the marketing of the IQOS system and HeatSticks cigarettes, nor whether

FDA grants the pending “modified risk” application and authorizes them to be marketed with a

reduced-risk and/or reduced exposure claim, have any bearing on whether HeatSticks cigarettes

are “cigarettes” within the scope of Order #1015. To the contrary, this Court, with the D.C.

Circuit’s emphatic endorsement on appeal, has already rejected defendants’ claims that FDA’s

authority over cigarettes under the Family Smoking Prevention and Tobacco Control Act

(Tobacco Control Act), Pub. L. No. 111-31, 123 Stat. 1776 (2009) (codified at 21 U.S.C. §§ 387-

387s), ensured their future lawful conduct and required, or even justified, relieving them of their

obligations under Order #1015. United States v. Philip Morris USA Inc., 787 F. Supp. 2d 68, 75-

77 (D.D.C. 2011), aff’d, 686 F.3d 832 (D.C. Cir. 2012).

        BACKGROUND ON HEATED-TOBACCO HEATSTICKS CIGARETTES

       PM USA sells the IQOS system and HeatSticks cigarettes in the United States under

license from Philip Morris International (PMI). 2 FDA authorized their marketing pursuant to a

Premarket Tobacco Product Application (“PMTA”) on April 30, 2019. 3 HeatSticks cigarettes

and conventional cigarettes are similar in structure, composition, and appearance. Like

conventional cigarettes, HeatSticks cigarettes contain tobacco—a HeatSticks cigarette includes a

plug of tobacco wrapped in paper. See Ex. 3, Philip Morris Products, S.A., Modified Risk



       2
           See Ex. 1, Altria SEC Form 10-K Annual Report for 2019, at 2 (PDF p. 6), available at
https://www.sec.gov/Archives/edgar/data/764180/000076418020000018/a2019form10-kq4.htm
(last visited June 26, 2020).
       3
         Ex. 2, FDA Marketing Order re: HeatSticks cigarettes and IQOS system (April 30,
2019), available at https://www.fda.gov/media/124248/download (last visited June 26, 2020).



                                                 3
        Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 4 of 17




Tobacco Product Application, Section 2.7 “Executive Summary,” at 22 (PDF p. 23) (“MRTP

Executive Summary”). 4 Apart from being shorter, as shown on the left in the image below,

HeatSticks cigarettes look like conventional cigarettes, including a mouth piece filter tip:




Ex. 4, IQOS, Meet IQOS, Marlboro HeatSticks, at PDF p. 7, available at

https://www.getIQOS.com/pages/home/meet-IQOS/meet-IQOS.html (last visited June 26, 2020).

HeatSticks cigarettes are also sold in packs of 20, like conventional cigarettes. See id.

       HeatSticks cigarettes are smoked using the IQOS system, which consists of a charger and

an electrically-powered, rechargeable holder. To use the system, a smoker removes the IQOS

holder from the charger, and inserts a HeatSticks cigarette. Ex. 5, IQOS, How to Guide, at PDF

p. 5, available at https://www.getiqos.com/pages/home/product-guides/how-to-guide.html (last

visited June 26, 2020). A heating blade within the IQOS holder then heats the tobacco in the

HeatSticks cigarette. Ex. 3, MRTP Executive Summary, at 23 (PDF p. 24). The heat generates an

inhalable aerosol containing nicotine and other chemicals. Id. The smoker puts the HeatSticks

cigarette filter to his or her mouth to inhale the aerosol. See id. at 22 (PDF p. 23) (diagram of a



       4
         The Tobacco Control Act forbids the marketing of tobacco products with health claims
without an FDA marketing order granting a Modified Risk Tobacco Product (“MRTP”)
application. 21 U.S.C. § 387k. PMI submitted such an application to FDA in November 2016
and it remains pending. As discussed in Section II of this brief, FDA’s marketing determinations,
including its actions on PMTAs and MRTP applications, have no bearing on whether HeatSticks
cigarettes are “cigarettes” under Order #1015.


                                                  4
       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 5 of 17




HeatSticks cigarette, including a “Mouth Piece Filter”). The following images depict a

HeatSticks cigarette when held in the IQOS holder:




Ex. 4, IQOS, Meet IQOS, Marlboro HeatSticks, at PDF p. 8.




Ex. 6, IQOS, IQOS Care, at PDF p. 3, available at

https://www.getIQOS.com/pages/home/support/support-center.html (last visited June 26, 2020).

       PM USA marketing materials emphasize heated-tobacco HeatSticks cigarettes’ similarity

to conventional combusted-tobacco cigarettes, explaining that HeatSticks cigarettes are meant

“to provide tobacco taste that replicates as much as possible what adult smokers expect,” are

“designed for the same length of time and number of puffs as a traditional cigarette,” and

“provide[] a similar experience to smoking traditional cigarettes.” Ex. 7, IQOS, FAQs, “About

Heatsticks” and “Health Related,” at PDF pp. 6, 7, 13, 19, available at

https://www.getIQOS.com/pages/home/support/faq.html (last visited June 26, 2020).

       PMI’s MRTP submission includes sample packaging for HeatSticks cigarettes that

describes them as “cigarettes”:


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        Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 6 of 17




Ex. 8, Philip Morris Products S.A. Modified Risk Tobacco Product (MRTP) Applications,

Module 4: Labels, Labeling, and Advertising, “A4.2.6 HeatSticksPack R REC_Redacted.pdf”

(submitted Nov. 18, 2016) (red oval added), available at https://www.fda.gov/tobacco-

products/advertising-and-promotion/philip-morris-products-sa-modified-risk-tobacco-product-

mrtp-applications#4 (last visited June 26, 2020).

                                           ARGUMENT

       An injunction must be understood in light of the circumstances surrounding its entry,

including the trial court’s findings of fact, the evidence produced at the trial, the relief sought by

the plaintiffs, and the mischief that the injunction seeks to prevent. See United States v. Philip

Morris USA, Inc., 566 F.3d 1095, 1137 (D.C. Cir. 2009); Common Cause v. Nuclear Regulatory

Comm'n, 674 F.2d 921, 927 (D.C. Cir. 1982); see also United States v. Philip Morris USA Inc.,

778 F. Supp. 2d 8, 11 (D.D.C. 2011) (clarifying terms of Order #1015 by referring to findings of



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        Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 7 of 17




fact and purpose of injunction), appeal dismissed, 686 F.3d 839 (D.C. Cir. 2012). As

demonstrated below, the circumstances surrounding the Court’s entry of Order #1015 make clear

that HeatSticks cigarettes are within its scope.

I.     The Circumstances of Order #1015’s Entry Establish that the Term “Cigarette” as
       Used Therein Encompasses HeatSticks Cigarettes

       In nearly 50 published pages of Findings of Fact discussing defendants’ efforts to use

heated-tobacco and various other technologies to create potentially “less hazardous” cigarettes,

the Court consistently referred to the resulting products as “cigarettes.” Philip Morris USA, 449

F. Supp. 2d at 384-430. The Court was addressing the United States’ claim that defendants

improperly suppressed research, development, and marketing of such cigarettes. Although the

Court ultimately determined that the claim had not been established, it made no effort to exclude

heated-tobacco and other allegedly less hazardous unconventional cigarettes, or even genuinely

less hazardous unconventional cigarettes, from the scope of Order #1015’s prohibitions. To the

contrary, the parties’ and the Court’s repeated characterization of such products as “cigarettes”

and the Court’s purpose to restrain defendants from continuing to engage in fraud and deceit

with respect to their tobacco products, clearly demonstrate that heated-tobacco products such as

HeatSticks cigarettes are within the scope of Order #1015.

       A. Both the Parties and the Court Referred to Products Like HeatSticks Cigarettes
          as “Cigarettes.”

       The potentially less hazardous cigarettes that the Court discussed for nearly 50 pages

used a host of unconventional technologies not present in conventional cigarettes. Half a dozen

of these products were combustible like conventional cigarettes, such as PM USA’s virtually




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        Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 8 of 17




nicotine-free cigarette, “Next.” Philip Morris USA, 449 F. Supp. 2d at 400. 5 Others, like PM

USA’s current HeatSticks cigarettes, were non-combustible and produced a nicotine-containing

aerosol by heating tobacco at a temperature below that which causes combustion. This latter

group included PM USA’s own “Accord” system, id. at 399-400, as well as two heated-tobacco

cigarettes made by RJRT, id. at 403-15.

       PM USA’s and the Court’s treatment of the Accord system cigarette are of particular

relevance here because, in all material respects, the Accord system is identical to the IQOS

system, including the use of heated tobacco cigarettes. Just as with the IQOS system, a smoker

used the Accord system by inserting a cigarette into an electrically-powered “lighter” that heated

the tobacco in the cigarette and produced a nicotine-containing aerosol. Id. at 399. Indeed,

despite the passage of approximately 20 years between the Accord system’s introduction to the

U.S. market in 1998 6 and the IQOS system’s entry last year, the two systems have the same basic

construction and means of consumption. They both:

       •     use specially-designed, shorter cigarettes that each contain a plug of processed
             tobacco wrapped in paper;

       •     use temperature-controlled heating blades to heat the tobacco in the cigarette;

       •     limit how many puffs a user can take per cigarette; and

       •     generate a nicotine-containing aerosol that purportedly reduces a user’s exposure to
             harmful constituents.




       5
         Other potentially less hazardous combustible cigarettes that the Court discussed in its
Findings of Fact were R.J. Reynolds Tobacco’s (“RJRT’s”) “multijet” filter, id. at 402, and
“EW/Winston Select,” the latter of which was a “tobacco burning” product, id. at 415; Brown &
Williamson’s “FACT” “low gas” cigarette, id. at 420, and “Advance,” a “conventional
potentially reduced-exposure product,” id. at 423; and Liggett’s “XA,” which used “palladium as
a catalyst to alter the chemical reactions occurring in a burning cigarette,” id. at 426.
       6
           Philip Morris USA, Inc., 449 F. Supp. 2d at 399.


                                                  8
        Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 9 of 17




Id. at 399-400; Ex. 3, MRTP Executive Summary at 19-23 (PDF pp. 20-24). A side-by-side

comparison of the Accord system’s cigarette and the IQOS system’s HeatSticks cigarette further

illustrates their striking similarities:




Accord system packaging, pictured in Ex. 9, Michael E. Szymanczyk Revised Written Direct

Testimony at 168:2-4 (PDF p. 11) (Dkt. No 5117-1; filed 3/29/2005); Ex. 4, Meet IQOS,

Marlboro HeatSticks, Tobacco Made for IQOS, at PDF p. 8.

        Although PM USA denies that its current HeatSticks cigarette is a “cigarette,” at trial it

repeatedly characterized the materially-identical Accord product as exactly that. For example,

PM USA CEO Michael E. Szymanczyk described the company’s efforts to “develop[] an

electrically heated cigarette that heats tobacco instead of burning it” and explained that the

Accord system used the company’s “electrically heated cigarette” technology. Szymanczyk

Revised Written Direct Testimony at 166:18-21, 167:6-8 (PDF pp. 9-10) (emphases added); see

also PM USA technical consultant Jerry Whidby, Ph.D., Corrected Written Direct Testimony at

66:20-21 (PDF p. 9) (Dkt. 4769-1; filed 2/4/2005) (discussing “cigarettes that generate smoke by

heating rather than burning tobacco, such as Accord”) (emphases added).

        Evidence admitted at trial also showed that PM USA marketed the Accord system as

using a “cigarette” that was “smoked.” Ex. 11, US Trial Ex. 25,908, at PDF pp. 2-5. Similarly,




                                                 9
       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 10 of 17




PM USA conducted focus groups to evaluate the Accord system using marketing materials that,

although not ultimately disseminated, described the consumable used with the Accord system as

a “cigarette” that produced “smoke.” Ex. 12, US Trial Ex. 21,855, at PDF pp. 2, 6.

       Just as PM USA referred to its heated-tobacco Accord product as “cigarettes” that were

“smoked,” so too did the Court. In its Findings of Fact, the Court described the Accord system

as:

       Philip Morris’s electrically-heated smoking “system,” [in which] the purchaser
       receives a kit—a starter set of shorter, specially-designed cigarettes and a dark
       rectangular heating device approximately the size of a large candy bar. To smoke
       Accord, the smoker inserts a cigarette into the end of the heating device. When a
       smoker inhales on the inserted cigarette, the inhalation triggers the device’s
       electrical heating element, which heats the cigarette to a temperature below that
       necessary to create combustion and delivers smoke to the smoker.

Philip Morris USA, 449 F. Supp. 2d at 399 (emphases added).

       The Court similarly described two other heated tobacco products—defendant RJRT’s

Premier and Eclipse—as cigarettes that were smoked. Addressing Premier, the Court stated,

“R.J. Reynolds actively pursued a program to develop, and ultimately market, a cigarette that

heated, rather than burned, tobacco.” Id. at 403 (emphasis added). “The Premier cigarette had

two major sections” and it “was lit and smoked similarly to other cigarettes, but it did not burn

tobacco and burned very little paper.” Id. (emphases added) (citations omitted). Addressing

Eclipse, the Court said, “[i]n 1989, after withdrawing Premier from test marketing, RJR[T]

shifted its focus to development of another cigarette that reduced the burning temperature to

reduce the formation and delivery of harmful constituents.” Id. at 410 (emphasis added). “Eclipse

looks like and is smoked much the same way as any other cigarette. Because Eclipse primarily

heats, rather than burns, tobacco, there are some important design differences that distinguish it

from other cigarettes.” Id. at 411 (emphasis added).




                                                10
       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 11 of 17




       PM USA’s and the Court’s use of the term “cigarette” is also consistent with the various

statutory definitions in effect at the time of trial (and now). 7 PM USA evidently considers

HeatSticks cigarettes to meet at least the Internal Revenue Code definition of “cigarette”

because, as illustrated in the image on page 6 supra, its packaging states that it contains “20

Class A Cigarettes”—the only generic term describing the contents. 8

       Even the unconventional technologies used in HeatSticks cigarettes that PMI cited in its

MRTP application as distinguishing them from conventional cigarettes are among the same

technologies that the Court found defendants had used in their efforts “to develop lower

tar/nicotine cigarettes and other nonconventional less hazardous cigarettes.” Philip Morris USA,

449 F. Supp. 2d at 386. PMI’s application identified three particular aspects of HeatSticks

cigarettes that it believed made them unconventional:

           •   HeatSticks cigarettes contain “tobacco [that] is ground and reconstituted into
               sheets (termed cast-leaf)”;

           •   HeatSticks cigarettes contain “much smaller amounts of tobacco”; and

           •   HeatSticks cigarettes contain two filters.

Ex. 3, MRTP Executive Summary, at 23 (PDF p. 24). Each of these technologies was discussed

by the Court in its 2006 Findings of Fact about non-conventional, potentially less hazardous



       7
          See 26 U.S.C. § 5702(b)(1) (1954) (Internal Revenue Code of 1954) (defining
“cigarette” to include “any roll of tobacco wrapped in paper or in any substance not containing
tobacco); see also Federal Cigarette Labeling and Advertising Act, 15 U.S.C. § 1332(1)(A)
(defining “cigarette”—both now and at the time Order #1015 was entered—as including “any
roll of tobacco wrapped in paper or in any substance not containing tobacco”); 18 U.S.C.
§ 2341(1)(A) (1978) (Trafficking in Contraband Cigarettes and Smokeless Tobacco Act) (same);
see also 21 U.S.C. § 387 (Tobacco Control Act) (adopting the FCLAA’s definition of
“cigarette”).
       8
         “Class A” is the United States Treasury’s designation for “small cigarettes”—cigarettes
that weigh not more than 3 pounds per thousand. 27 C.F.R. §§ 40.11, 40.24; see 26 U.S.C.
§ 5701(b) (setting tax rates for small and large cigarettes).


                                                 11
       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 12 of 17




cigarettes. As the Court summarized, “[s]uccessful general reduction techniques include the use

of more efficient filters, the use of processed tobacco labeled reconstituted tobacco; the use of

processed tobacco labeled expanded tobacco; reduction of the circumference of the cigarette

which leads to burning less tobacco; the use of filter ventilation; the use of porous cigarette

paper; and the use of faster burning papers.” Philip Morris USA, 449 F. Supp. 2d at 389

(emphases added). Thus, reconstituted tobacco, reduction in total tobacco, and filter technology

were all adaptations considered by the Court in 2006. None of them prevented either PM USA or

the Court from considering these “potentially less hazardous non-conventional products” to be

“cigarettes,” and from referring to them consistently as such. Id. at 399 (header capitalization

altered).

        B. The Mischief the Injunction Sought to Prevent Includes Defendants’ Conduct
           with Respect to All Cigarettes.

        Following a nine-month trial, the Court concluded that “as long as [d]efendants are in the

business of selling and marketing tobacco products,” they were likely to continue to engage in

fraud and deception. Philip Morris USA, 449 F. Supp. 2d at 909. In other words, while the Court

did not accept the United States’ contention that defendants had fraudulently suppressed the

development and marketing of potentially less hazardous cigarettes, it also did not find that they

would refrain from making fraudulent claims about such products in the future. To the contrary,

the Court reached the exact opposite conclusion; it found—without qualification as to the type or

kind of cigarette—that defendants would continue to engage in fraud and deception concerning

their tobacco products unless restrained. In light of its wide-ranging finding of likelihood of

continued fraud and deception, the Court did not except heated-tobacco cigarettes or any other

type of cigarette from the scope of Order #1015.




                                                 12
       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 13 of 17




       The Court began its lengthy discussion of potentially less hazardous cigarettes by

distinguishing “between cigarettes which actually reduce the smoker’s consumption of harmful

constituents and those which, despite their marketing, do not (e.g., light/low tar cigarettes).”

Philip Morris USA, 449 F. Supp. 2d at 385 n.18. The Court’s decision not to include a similar

distinction in its final injunction and remedial order is entirely consistent with the purpose of

Order #1015. The Court’s broad injunction, among other things, enjoined defendants from

engaging in racketeering and fraud, prohibited defendants from using any health descriptors,

obligated defendants to make public certain documents, required defendants to disclose

disaggregated marketing data, and ordered defendants to make corrective statements. Had the

Court intended to exclude a class or category of cigarette from Order #1015’s scope, it would

have carefully designated the characterizing features of that class or designated some mechanism

or authority by which they could be identified. It did neither of those things. The Court would

certainly not have left it up to defendants themselves to designate which of their products were

“less hazardous” and thereby not “cigarettes” within the scope of the Order. Such a result would

have flown in the face of the Court’s conclusions, supported by hundreds of pages of findings. It

would also have made a dead letter of Order #1015’s prohibition against “any express or implied

health message or health descriptor for any cigarette brand,” since any defendant making such a

claim would have thereby instantaneously made its product “not a cigarette.”

       Given the Court’s extensive findings of fact about defendants’ decades-long fraud and

deceit, including defendants’ false representation of light and low tar cigarettes as less harmful, it

is inconceivable that the Court tacitly intended to entrust them with the power to exclude

particular products from the scope of Order #1015 simply by making health claims about them.

To the contrary, the Court’s Findings of Fact and Conclusions of Law demonstrate that it meant




                                                 13
       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 14 of 17




the final injunction to apply to all cigarettes made by defendants, regardless of whether they are

conventional or novel, and regardless of whether they are allegedly, potentially, or genuinely less

hazardous. Based upon defendants’ proclivity for fraud, which the Court found likely to continue

“as long as [d]efendants are in the business of selling and marketing tobacco products,” Philip

Morris USA, 449 F. Supp. 2d at 909, the proper mechanism for a cigarette manufacturer subject

to the RICO injunction to be permitted to make health claims about a cigarette is to seek

modification of the RICO injunction.

II.    FDA’s Findings and Actions Have No Bearing on the Scope of Order #1015

       The scope of Order #1015 is not affected by any finding or action FDA has taken or may

take regarding HeatSticks cigarettes. Indeed, nothing in this Court’s final injunction and remedial

order and accompanying Findings of Fact, or any subsequent decision, suggests that whether a

tobacco product constitutes a “cigarette” under Order #1015 turns on the determinations of any

government agency. Thus, the simple fact that FDA granted PMTA marketing orders for the

IQOS system and HeatSticks cigarettes has no bearing on whether HeatSticks cigarettes are

“cigarettes” subject to Order #1015. Nor would it matter if FDA subsequently were to grant

marketing orders that authorized HeatSticks cigarettes to be marketed with one or more reduced-

risk or reduced-exposure claims. 9 That was true in 2006 and it remained true even with the

passage of the Tobacco Control Act in 2009, as this Court made clear when it rejected

“[d]efendants’ claim that, due to the passage of the Tobacco Control Act, and subsequent

regulation of the tobacco industry by FDA, there is no longer a reasonable likelihood of future


       9
         PMI’s pending MRTP application seeks marketing orders that would authorize two
reduced-risk claims and one reduced-exposure claim: (1) “switching completely from cigarettes
to the IQOS system can reduce the risks of tobacco-related diseases”; (2) “switching completely
to IQOS presents less risk of harm than continuing to smoke cigarettes”; and (3) “switching
completely from cigarettes to the IQOS system significantly reduces your body’s exposure to
harmful and potentially harmful chemicals.” Ex. 3, MRTP Executive Summary at 9 (PDF p. 10).


                                                14
       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 15 of 17




RICO violations” as “simply unconvincing” and “particularly untenable.” United States v. Philip

Morris USA Inc., 787 F. Supp. 2d 68, 75-77 (D.D.C. 2011), aff’d, 686 F.3d 832 (D.C. Cir. 2012).

                                           CONCLUSION

        The Court’s Findings of Fact and Conclusions of Law demonstrate that the Court

considered heated-tobacco products such as the Accord system and the current HeatSticks

cigarettes used with the IQOS system to be “cigarettes,” and intended Order #1015’s anti-fraud

and other provisions to reach such cigarettes, regardless of whether they were potentially or

actually less hazardous. This Court should therefore clarify that PM USA’s HeatSticks cigarettes

are “cigarettes” subject to Order #1015, as amended. PM USA should not be allowed to decide

for itself that HeatSticks cigarettes are not “cigarettes”; if it believes that HeatSticks cigarettes

should be excepted from one or more provisions of Order #1015, its remedy is to move the Court

for a modification of those provisions, not to engage in self-help by ignoring this Court’s final

injunction and remedial order.


Dated: June 26, 2020                    Respectfully submitted,


                                                GUSTAV W. EYLER, Director
                                                ANDREW CLARK, Assistant Director
                                                Consumer Protection Branch

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                                                  15
Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 16 of 17




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                             Intervenors




                               16
       Case 1:99-cv-02496-PLF Document 6325 Filed 06/26/20 Page 17 of 17




                                     EXHIBIT LIST

Exhibit
                                                 Description
Number
  1        Altria SEC Form 10-K Annual Report for 2019, at 2 (Feb. 25, 2020), available at
           https://www.sec.gov/Archives/edgar/data/764180/000076418020000018/a2019form10-
           kq4.htm
           (last visited June 26, 2020) (excerpt includes cover, contents, pages 1-2 & 118)
   2       FDA Marketing Order re: HeatSticks cigarettes and IQOS system (April 30, 2019),
           available at https://www.fda.gov/media/124248/download (last visited June 26, 2020)
   3       Philip Morris Products, S.A., Modified Risk Tobacco Product Application, Section 2.7
           “Executive Summary” (Nov. 18, 2016), available at https://www.fda.gov/tobacco-
           products/advertising-and-promotion/philip-morris-products-sa-modified-risk-tobacco-
           product-mrtp-applications#E (last visited June 26, 2020) (excerpt includes pages 1-23)
   4       IQOS, Meet IQOS, Marlboro HeatSticks, available at
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   9       PM USA CEO Michael E. Szymanczyk Revised Written Direct Testimony (Dkt. No
           5117-1; filed 3/29/2005) (excerpt includes cover, page i-ii, 1, 164-71)
  10       PM USA technical consultant Jerry Whidby, Ph.D., Corrected Written Direct
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           67)
  11       US Trial Ex. 25,908, Four print ads for Accord Cigarettes
  12       US Trial Ex. 21,855, Draft package insert for Accord system




                                            17
